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16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA,

18                                    SAN FRANCISCO DIVISION

19
20   SONOS, INC.,                                  Case No. 3:20-cv-06754-WHA

21          Plaintiff and Counter-defendant,       Consolidated with
                                                   Case No. 3:21-cv-07559-WHA
22          v.
                                                   SONOS’S BRIEF RE CAST
23   GOOGLE LLC,                                   TECHNOLOGY

24          Defendant and Counter-claimant.        Judge: Hon. William Alsup
                                                   Courtroom: 12, 19th Floor
25                                                 Trial Date: May 8, 2023

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                                                         SONOS’S BRIEF RE CAST TECHNOLOGY
                                                                           3:20-CV-06754-WHA
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 1          During trial on Wednesday, May 10, Google objected that the introduction of a “Cast for

 2   Audio” presentation during the video deposition of Google product manager, Tomer Shekel, has

 3   somehow “opened the door” to Google being permitted to bring in the Court’s summary

 4   judgment orders concerning Sonos’s ‘615 and ‘033 patents, which relate to Sonos’s direct control

 5   technology. The Court stated that although it was “skeptical” of Google’s position, the Court

 6   would permit the parties three pages each to explain their positions. 5/10, Trial Tr. at 707:21.

 7   Because nothing has come in concerning the technology accused of infringing Sonos’s direct

 8   control patents, the Court should decline to find that Sonos has “opened the door.”

 9          The document Google is concerned about is a 2014 “Cast for Audio” presentation, which
10   discusses the genesis of the accused “multi-zone group” technology. Sonos designated limited

11   testimony of Mr. Shekel where he explained that in 2014 he was a product manager of the “cast

12   audio” team and that he was involved in the development of the accused Google Home product

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19   and in the accused multi-room speaker playback features. Mr. Shekel also testified about slide 18

20   (above, right) regarding the development of the accused “Multi Zone Groups” technology and

21   how it was able to contain overlapping groups. Sonos also designated testimony from Mr. Shekel

22   that it would have been a poor user experience to confine players to only one multi-zone group or

23   to disturb of players when establishing new multi-zone groups. As we’ve heard throughout trial,

24   these features, including overlapping groups are directly relevant to the Asserted Claims of the

25   ‘885 and ‘966 Patents.

26          This testimony and these features in no way opens the door to allowing Google to argue

27   that unrelated patents on unrelated technology were held invalid by this Court. As the Court will

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 1   recall, Sonos’s direct control patents were directed to technology for transferring the playback of

 2   media from a computing device (controller) to a media player, where either the player contained a

 3   “local playback queue” (‘615 patent) or the controller and player both played back from a

 4   “remote playback queue” (‘033 patent). Sonos accused Google’s media players and the YouTube

 5   family of apps of meeting the claims of the ‘615 and ‘033 patents. No part of this testimony

 6   discussed the technology that Sonos accused of infringement of those patents. And as such, there

 7   is no need to permit Google to poison the jury with evidence and argument concerning the ‘033

 8   and ‘615 summary judgment rulings, the prejudice of which severely outweighs the near-zero

 9   probative value. ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., No. 2:10CV248, 2011
10   WL 7036048 at *6 (E.D. Va. July 5, 2011) (“to the extent that [alleged infringer] seeks to

11   mention that the ’325 patent was held invalid by this Court or that it was previously asserted in

12   this case, this evidence would be overly prejudicial”).

13          As evidenced by the trial testimony and evidence thus far, Google used the “cast” term

14   broadly to refer to its audio development program. Some of the accused products in this case are

15   called “Chromecast” and “Chromecast Audio” and the Google Home App was previously called

16   the “Chromecast” app and before that, the “Cast” app. Thus, any mere reference to a document

17   containing the word “cast” cannot open the door to putting into evidence the invalidation of

18   Sonos’s direct control patents.

19          Nor should Google’s own counter-designations provide any basis for opening the door.
20   Google provided lengthy counter-designations that introduce details surrounding the meeting

21   concerning the “Cast for Audio” document, including testimony implying that Google shared the

22   Cast for Audio presentation with Sonos. See Shekel Dep. Tr. at 42:2-9; 77:18-22. Evidence of

23   Google sharing a document with Sonos concerning the development of the features accused of

24   infringement of the ‘885 and ‘966 patents should not open the door to Google putting in the direct

25   control summary judgment orders. The Court should decline Google’s latest attempt to inject

26   unasserted patents into this case.

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                                                                  SONOS’S BRIEF RE CAST TECHNOLOGY
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 1
     Dated: May 10, 2023               ORRICK HERRINGTON & SUTCLIFFE LLP
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